                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

United States of America, et al.         §
                                         §
         Plaintiffs,                     §    NO: AU:24-CV-00008-DAE
vs.                                      §
                                         §
State of Texas, et al.                   §
                                         §
         Defendants.                     §


             ORDER SETTING MOTION FOR PRELIMINARY AND
                PERMANENT INJUNCTION HEARING
         It is hereby ORDERED that the above entitled and numbered case is set

for a in person hearing on the pending MOTION FOR PRELIMINARY AND

PERMANENT INJUNCTION (Dkt no. 14) before Senior U.S. District Judge

David A. Ezra in Courtroom 2, on the Fourth Floor of the United States

Courthouse, 501 West Fifth Street, Austin, TX, on Thursday, February 15, 2024

at 09:00 AM.

         IT IS FURTHER ORDERED that the following schedule and page limits

be followed by the parties.

· Response to the pending motion, no more than 65 pages, is due to the Court no

      later than February 7, 2024

· Reply to the pending motion, no more than 20 pages per party, is due to the
Court no later than February 15, 2024



   IT IS SO ORDERED.

   DATED: Austin, Texas February 02, 2024.




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                                        DAVID A. EZRA
                                        SENIOR U.S. DISTRICT JUDGE
